
80 So. 3d 423 (2012)
Jorge Armando DAVILA, Appellant,
v.
STATE of Florida, Appellee.
No. 2D11-2021.
District Court of Appeal of Florida, Second District.
February 15, 2012.
Grisel Ybarra, Miami, for Appellant.
*424 PER CURIAM.
Jorge Armando Davila appeals the summary denial of his motion for postconviction relief filed pursuant to Florida Rule of Criminal Procedure 3.850. We affirm. See Barrios-Cruz v. State, 63 So. 3d 868 (Fla. 2d DCA 2011). As in Barrios-Cruz, 63 So.3d at 870, we hold that Padilla v. Kentucky, ___ U.S. ___, 130 S. Ct. 1473, 176 L. Ed. 2d 284 (2010), does not apply retroactively in postconviction proceedings, and we certify to the Florida Supreme Court the following question of great public importance pursuant to Florida Rule of Appellate Procedure 9.030(a)(2)(A)(v):
SHOULD THE RULING IN Padilla v. Kentucky, ___ U.S. ___, 130 S. Ct. 1473, 176 L. Ed. 2d 284 (2010), BE APPLIED RETROACTIVELY IN POSTCONVICTION PROCEEDINGS?
Affirmed; question certified.
WALLACE, KHOUZAM, and CRENSHAW, JJ., Concur.
